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IN THE
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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Margate City, New Jersey 08402-1705,

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Canada,

Case No.

ROSE LEBOVIC MILLER
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TZVI ZELIKOVITCH
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YITZHAK PRESSBURGER *
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ALEXANDER SPEISER *
55 Komemiyut Street *
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ZE’EV TIBI RAM *
Kibbutz Afikim 15148 *
Israel *
and %
VERA DEUTSCH DANOS *
24 Huntingtower Road *
Melbourne, Victoria *
Australia, *
Individually, for themselves and for all ®
others similarly situated, *
PLAINTIFFS, *
¥. %
THE REPUBLIC OF HUNGARY *
Sandor Palace *
H-1014 *
Budapest, Szent Gyérgy tér 1 *
Hungary, *
MAGYAR ALLAMVASUTAK Zrt.

(MAV Zrt.)

1062 Budapest, Andrassy ut 73-75 *
Hungary, *
and *
RAIL CARGO HUNGARIA Zrt., *
successor-in-interest to MAV CARGO *

ARUFUVAROZASI Zrt., f/k/a MAV Cargo *
Zrt., a Division of MAV Zrt. *
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Vaci ut 92.
H-1133 Budapest
Hungary,

a a a,

DEFENDANTS.

* * * * * x * * * * * * Ei *x * * * * * * ve * * * * *

MOTION FOR ORDER
AUTHORIZING PLAINTIFFS’ COUNSEL TO SERVE FOREIGN DEFENDANTS

Pursuant to F.R.C.P. 4(H(1), 4(h)(2) and 4¢)(1), Foreign Sovereign Immunity Act, 28
U.S.C. 1608(a)(2) and the Hague Convention of 15 November 1965 on the Service Abroad of
Judicial and Extrajudicial Documents in Civil or Commercial Matters, Plaintiffs, victims of the
Hungarian Holocaust, by and through their undersigned counsel, respectfully request an order
signed by this Honorable Court that authorizes Plaintiffs’ attorney, Charles S. Fax, to submit the
request for service of the Complaint and summonses in this matter to the Central Authority
designated by Hungary for appropriate and effective service of process on Defendants The
Republic of Hungary, the Hungarian State Railway Magyar Allamvasutak Zrt. and Rail Cargo
Hungaria Zrt. (hereinafter collectively “Defendants”).

STATEMENT OF FACTS IN SUPPORT OF PLAINTIFFS’ MOTION
1. Plaintiffs, simultaneously with this motion, filed the instant action against Defendants,

The Republic of Hungary, Magyar Allamvasutak Zrt. (the Hungarian State Railway,

hereinafter “MAV”) and Rail Cargo Hungaria Zrt. (a private company, hereinafter “MAV

Cargo”) on October 19, 2010.

2. Defendant The Republic of Hungary is a signatory member of the Hague Service

Convention.

3. F.R.C.P. 4((1) and 4(h)(2) authorizes service on a foreign individual, such as MAV

Cargo located in Hungary, in accordance with the Hague Convention of 15 November
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1965 on the Service Abroad of Judicial and Extrajudicial Documents in Civil or

Commercial Matters.

F.R.C.P. 4()(1) authorizes service on a foreign state, such as The Republic of Hungary,

and any of its instrumentalities, such as MAV, in accordance with Foreign Sovereign

Immunity Act, 28 U.S.C. 1608, which subsection (a)(2) provides for “delivery of a copy

of the summons and complaint in accordance with an applicable international convention

on service of judicial documents,” i.e. the Hague Convention of 15 November 1965 on
the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial

Matters.

Article 3 of the Hague Convention of 15 November 1965 on the Service Abroad of

Judicial and Extrajudicial Documents in Civil or Commercial Matters states “[t]he

authority or judicial officer competent under the law of the State in which the documents

originate shall forward to the Central Authority of the State addressed a request
conforming to the model annexed to the present Convention”. See Request For Service

Abroad Of Judicial Or Extrajudicial Documents, attached hereto as Exhibit 1.

a. The designated Central Authority of The Republic of Hungary is the Department
of Justice Cooperation and Private International Law of the Ministry of Public
Administration and Justice.

b. The Republic of Hungary will not consider a party’s attorney to be a judicial
officer unless a court issues an order authorizing that attorney to submit the

request for service to the Central Authority.
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WHEREFORE, the undersigned counsel respectfully requests an order, signed by this
Honorable Court, authorizing attorney Charles S. Fax to effect service of process of the on
Defendants, The Republic of Hungary, MAV and MAV Cargo.

Respectfully submitted,

RIFKIN, LIVINGSTON, LEVITAN &
SILVER, LLC

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Date: October 20, 2010

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